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 6   BEHRUZ BONSHAHI, an individual

 7

 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
      BEHRUZ BONSHAHI, an individual,                         )       Case No.
11                                                            )
                                 Plaintiff,                   )
12                                                            )       COMPLAINT FOR INJUNCTIVE
               vs.                                            )       RELIEF AND DAMAGES: DENIAL OF
13                                                            )       CIVIL RIGHTS AND FULL AND
                                                              )       EQUAL ACCESS TO PUBLIC
      BRIDGESTONE RETAIL OPERATIONS,
14                                                            )       ACCOMMODATIONS TO PERSON
      LLC, and DOES 1 through 10, inclusive,
                                                              )       WITH PHYSICAL DISABILITY IN
15                                                            )       VIOLATION OF THE AMERICANS
                                 Defendants.
                                                              )       WITH DISABILITIES ACT OF 1990
16                                                            )       (42 U.S.C. §§ 12101 et seq.), AND
                                                              )       CALIFORNIA DISABLED RIGHTS
17                                                            )       STATUTES (CIVIL CODE §§ 51, 52, 54,
                                                              )       54.1, 54.3; HEALTH & SAFETY CODE
18                                                            )       §§ 19955 et seq.)
                                                              )
19                                                            )
                                                              )
20

21            Plaintiff BEHRUZ BONSHAHI (“plaintiff”), an individual, complains of defendant

22   BRIDGESTONE RETAIL OPERATIONS, LLC (“defendant” or “BRIDGESTONE”), as the

23   owner and operator of the Wheel Works store located at 1410 Concord Avenue, Concord,

24   California, 94520 (“WHEEL WORKS”). Plaintiff alleges as follows:

25                                                 INTRODUCTION

26            1.       This is a civil rights action for unlawful discrimination based on defendant’s

27   failure to design, construct, and maintain its facility and its accommodations to make them

28   readily accessible to, and usable by, individuals with disabilities when it was structurally
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 1   practicable and readily achievable to do so.

 2            2.       The WHEEL WORKS store is a place of public accommodation located at 1410

 3   Concord Avenue in the City of Concord. The lack of accessible public accommodations at

 4   WHEEL WORKS has caused plaintiff and other similarly situated individuals with physical

 5   disabilities to be denied full and equal access to the store accommodations, facilities, goods,

 6   services, and opportunities that are provided to non-disabled members of the public.

 7            3.       Plaintiff is a person with a physical disability who requires the use of a wheelchair

 8   for mobility. Plaintiff has been denied full and equal access to the accommodations and services

 9   offered at defendant’s facility. Plaintiff visited defendant’s facility as an invitee, guest, patron,

10   and customer and personally experienced actionable discrimination that violated his civil rights

11   under federal and state laws.

12            4.       Defendant violated plaintiff’s civil rights under Federal and California laws by

13   failing to design, construct, and provide accessible accommodations at its facility. Plaintiff

14   personally encountered barriers to full and equal access that caused him physical difficulty,

15   discomfort, and embarrassment while attempting to access accommodations at defendant’s

16   facility. Thus, plaintiff seeks injunctive relief against defendant pursuant to Title III of the

17   Americans with Disabilities Act of 1990, 42 U.S.C. Section 12101, et seq., and monetary relief

18   under the California Unruh Civil Rights Act, Cal. Civ. Code Sections 51, 52, and the California

19   Disabled Persons Act, Cal. Civ. Code Sections 54, 54.1, and 54.3, et seq.

20                                         JURISDICTION AND VENUE
21            5.       This Court has original jurisdiction of this action pursuant to 28 U.S.C. Section
22   1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. Section 12101, et
23   seq. (“ADA”). Pursuant to 28 U.S.C. Section 1367, the Court also has supplemental jurisdiction
24   over related causes of action under California law arising from the same operative facts and
25   transactions. These related claims include violations of Cal. Civ. Code Sections 51, 52, 54 and
26   54.3, Cal. Gov't Code Section 4450, et seq., Cal. Health & Safety Code Sections 19955-19959,
27   and Title 24 of the California Code of Regulations.
28            6.       Venue is proper in this Court pursuant to 28 U.S.C. Section 1391(b) and is
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 1   founded on the facts that the real property, which is the subject of this action where plaintiff’s

 2   causes of action arose, is located within this judicial district at 1410 Concord Avenue, Concord,

 3   California, 94520, and in the County of Contra Costa.

 4            7.       Intra-district Assignment. This matter should be assigned to the San Francisco

 5   and Oakland Division of the Court under Civil Local Rule 3-2(c) and (d), because the real

 6   property where the causes of action arose is located within Contra Costa County.

 7                                                       PARTIES

 8            8.       Plaintiff requires the use of a wheelchair for mobility and for traveling about in

 9   public places. Accordingly, plaintiff is an “individual with a disability” as defined by Federal

10   and California anti-discrimination laws enacted to ensure that individuals with disabilities are

11   afforded full and equal access when visiting and accessing public accommodations to enjoy,

12   participate in, experience, and benefit from, accommodations, and goods and services offered to

13   members of the general public who are non-disabled.

14            9.       Plaintiff visited defendant’s business as a customer and was denied of his civil

15   rights to access available services and accommodations in a full and equal manner due to

16   architectural barriers that plaintiff personally encountered.

17            10.      Plaintiff is informed, believes, and alleges that defendant owns and operates, and

18   was at all relevant times acting and performing, or failing to act or perform within its authority as

19   the owner and operator of the business to ensure that the accommodations, goods, services, and

20   opportunities were accessible to plaintiff and other members of the public who have physical

21   disabilities. Defendant’s failure to comply with Federal and State access laws proximately caused

22   the violations and ongoing violations and damages to plaintiff complained of herein.

23            11.      Defendant’s business and accommodations are open to the general public to visit

24   and to patronize and therefore is a “public accommodation” or “public facility” subject to the

25   requirements of the ADA and California Civil Code Sections 51, 52, 54, 54.1, and 54.3, et seq.,

26   California Health and Safety Code Section 19955, et seq., and California Government Code

27   Section 4450, et seq.

28            12.      At all times relevant to this Complaint, defendant has been and is responsible for
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 1   ensuring that its facilities are free of architectural barriers preventing full and equal access to

 2   public accommodations for persons with disabilities as provided by Code of Federal Regulations,

 3   Title 28, Chapter I, Part 36, Subpart B, Section 36.201, and that its goods, services, and

 4   opportunities are fully and equally available to persons with disabilities. Specifically, Section

 5   36.201 provides:

 6            § 36.201     General.

 7            (a) Prohibition of discrimination. No individual shall be discriminated
              against on the basis of disability in the full and equal enjoyment of the
 8            goods, services, facilities, privileges, advantages, or accommodations of
              any place of public accommodation by any private entity who owns, leases
 9            (or leases to), or operates a place of public accommodation.

10   See 28 C.F.R. §36.201(a).

11                                           FACTUAL ALLEGATIONS

12            13.      The WHEEL WORKS store is located at 1410 Concord Avenue in the City of

13   Concord. The premises of this facility consists of, among other things, exterior parking spaces and

14   paths of travel, entrance accommodations, sales and transaction counters, restroom facilities, and

15   other accommodations that are “public accommodations” subject to the design, construction, and

16   barrier removal requirements under Title III of the ADA, the ADA Accessibility Guidelines

17   (“ADAAG”), and California statutory requirements to provide and maintain barrier free

18   accommodations under Government Code Section 4450, et seq., Civil Code Sections 51, 52, 54,

19   54.1, and 54.3, and Health & Safety Code Section 19955, et seq.

20            14.      Plaintiff is informed, believes, and alleges that defendant failed to design and

21   construct a facility that was readily accessible to, and usable by, individuals with disabilities

22   when it was structurally practicable to do so. Plaintiff also alleges in the alternative, that

23   defendant failed to remove access barriers when it was readily achievable to do so. Thus,

24   defendant has violated the ADA by failing to provide and ensure full and equal access to its

25   public facilities and accommodations for plaintiff and similarly situated individuals.

26            15.      Defendant’s failure to provide accessible accommodations for plaintiff and

27   similarly situated individuals also violates accessibility standards under Title 24 of the California

28   Code of Regulations, which is known as the California Building Standards Code (“CBC”) or
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 1   more commonly as “Title 24.” Plaintiff alleges on information and belief that the

 2   aforementioned facilities have been altered, modified, and/or repaired since its original

 3   construction, which in turn, subjects the facilities in question and each of its public

 4   accommodations to the access requirements under California Health and Safety Code Sections

 5   19955-19959 as well as the access requirements under Title 24.

 6            16.      Plaintiff visited WHEEL WORKS on April 13, 2022, to shop for car tires. When

 7   plaintiff arrived at the WHEEL WORKS parking lot, he did not see any designated accessible

 8   parking spaces, signage, and access aisles, which forced plaintiff to park in a non-accessible

 9   space away from other vehicles. However, parking in a non-accessible space presented the risk

10   that plaintiff would not be able to reenter his vehicle if another vehicle later parked next to him.

11   Additionally, there was no accessible path of travel from the parking area to the store entrance.

12            17.      When plaintiff arrived at the store entrance, he had difficulty opening the front

13   door due to excessive door pressure. The noncompliant door caused plaintiff to experience

14   physical difficult and discomfort when he pulled open the heavy front door. Plaintiff additionally

15   experienced physical difficulty, discomfort, and embarrassment when he attempted to access a

16   credit card reader to pay for his purchase. The card reader was located on top of an excessively

17   high sales counter, which made it difficult and awkward for plaintiff to reach and operate.

18            18.      Before leaving WHEEL WORKS, plaintiff used the men’s restroom at the store

19   and encountered a number of access barriers in the restroom. In particular, the soap dispenser,

20   toilet seat cover dispenser, and paper towel dispenser were all positioned too high for plaintiff to

21   reach without physical difficulty and discomfort. Additionally, the flush lever for the toilet was

22   not readily accessible, and the restroom did not have sufficient clear floor space between the

23   open side of the toilet and sink for side transfers to be made. Plaintiff also saw that the sink was

24   missing pipe insulation.

25            19.      Plaintiff returned to WHEEL WORKS on June 22, 2022, for a scheduled oil

26   change and tire rotation service for his vehicle. Unfortunately, plaintiff encountered many of the

27   same access barriers that he encountered during his first visit to WHEEL WORKS in April 2022.

28   In particular, there was no accessible parking space, signage, access aisle, and path of travel.
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 1   Plaintiff also experienced physical difficulty, discomfort, and embarrassment when he attempted

 2   to access a credit card reader at a sales counter inside to pay for his service. Because the card

 3   reader was fixed on top of an excessively high sales counter, plaintiff could not readily access the

 4   card reader to complete his transaction. Instead, after unsuccessfully attempting to access the

 5   device, plaintiff required assistance from an employee who read directions aloud for plaintiff to

 6   complete his transaction. This experience was awkward and also embarrassing for plaintiff.

 7   Additionally, while waiting for his vehicle inside the store, plaintiff visited the men’s restroom

 8   and encountered the same access barriers that he experienced during his first visit to defendant’s

 9   store. These barriers once again caused plaintiff physical difficulty and discomfort when he

10   attempted to access defendant’s noncompliant restroom accommodations.

11           20.       On August 6, 2022, plaintiff returned to WHEEL WORKS to exchange a

12   defective tire he had purchased in April 2022. After plaintiff pulled his vehicle into a non-

13   accessible parking space, he realized that he could not exit his vehicle. Plaintiff called the store

14   and explained his problem to an employee. The employee told plaintiff he could move his car to

15   a parallel space located by the store entrance once it became available. About five minutes later,

16   the employee called back to let plaintiff know the space was available. Plaintiff pulled into the

17   space, lowered his ramp, but realized the path leading to the store entrance was lower than the

18   parking space. The uneven surface created an excessively steep and unsafe angle for plaintiff’s

19   ramp, which made it physically difficult and uncomfortable for plaintiff during his descent.

20   Once inside the store, the employee confirmed that plaintiff’s tire was under warranty. Plaintiff

21   remained in the waiting area until he was notified that his vehicle was ready. Before leaving,

22   plaintiff had to use the men’s restroom and encountered the same barriers that he previously

23   experienced during his prior visits to WHEEL WORKS. These barriers caused plaintiff physical

24   difficulty and discomfort when he attempted to access defendant’s restroom accommodations.

25            21.      Plaintiff is informed, believes, and alleges that defendant is aware of its obligation

26   under the ADA and California access standards and regulations to provide full and equal access

27   to services, accommodations, opportunities, and facilities that defendant offers and makes

28   available to nondisabled persons visiting its store. Yet, despite this knowledge, defendant has
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 1   failed to put in place accessible accommodations, facilities, policies, and procedures to ensure

 2   that the different accommodations and opportunities defendant provides to the public are fully

 3   and equally available to plaintiff and other persons with disabilities.

 4            22.      Plaintiff’s adverse experiences have, on at least two separate occasions after his

 5   last visit to WHEEL WORKS, deterred him from returning to the facility as a customer to avoid

 6   encountering the same barriers and experiencing the same denial of full and equal access that

 7   caused him difficulty, discomfort, and embarrassment from attempting to access defendant’s

 8   accommodations, services, and opportunities during his prior visits.

 9            23.      Plaintiff seeks to compel defendant to remove all access barriers from its facilities,

10   as required by Federal and California access laws, regulations, and standards to provide plaintiff

11   and other similarly situated individuals full and equal access to the accommodations, facilities,

12   and opportunities that defendant offers and provides to nondisabled members of the public.

13   Plaintiff also seeks deterrence damages from defendant under California law according to proof.

14           24.       Plaintiff is informed, believes, and alleges that defendant failed to provide full and

15   equal access to other accommodations and services at its facility and has failed to remove other

16   barriers that have yet to be identified. Thus, plaintiff’s legal representative requires a formal

17   inspection of defendant’s premises and an opportunity to identify and assess all other existing

18   barriers affecting persons with disabilities who are similarly situated to plaintiff. This inspection

19   will enable plaintiff to determine the appropriate scope of injunctive relief required to correct all

20   of defendant’s past, present, and ongoing violations of Federal and California disability access

21   standards, regulations, and laws.

22            25.      Plaintiff is informed, believes, and alleges that he and other similarly situated

23   disabled persons will continue to be discriminated against as long as defendant continues to

24   violate the ADA and California access laws by failing to provide full and equal access to

25   accommodations and opportunities that it offers and provides to the public. Plaintiff has no

26   adequate remedy at law to address recurring injury should he or other disabled persons visit

27   defendant’s facility in its current inaccessible configuration and operation. Unless the Court

28   grants the requested relief, plaintiff and other disabled persons will suffer and continue to suffer
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 1   irreparable injury and harm from the denial of full and equal access to accommodations,

 2   facilities, opportunities, and services that defendant offers and provides to the public.

 3            26.      Defendant’s acts and omissions in owning, operating, leasing, constructing,

 4   altering, and maintaining the subject facilities denied plaintiff full and equal access to the

 5   accommodations, opportunities, and services defendant offers to the public. Thus, plaintiff

 6   seeks an injunction from the Court requiring defendant to make its accommodations, facilities,

 7   and opportunities fully accessible to disabled persons and to further compel defendant to take all

 8   necessary steps to ensure that the accommodations are maintained in a fully accessible condition

 9   and manner.

10            27.      Plaintiff is informed, believes, and alleges that at all relevant times mentioned,

11   defendant knew, or in the exercise of reasonable diligence should have known, that the barriers at

12   its facility violated applicable disabled access requirements and standards, and had a

13   discriminatory impact on plaintiff and other physically disabled persons. However, defendant

14   has failed to correct the ongoing violations and continues to maintain the very policies and access

15   barriers that unlawfully discriminate against plaintiff and other persons with disabilities by

16   precluding them from full and equal access to the accommodations, facilities, and opportunities

17   that defendant provides to non-disabled persons who visit defendant’s facility.

18                        I.      FIRST CAUSE OF ACTION
               VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
19                           (42 U.S.C. Section 12101, et seq.)

20            28.     Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

21   the allegations contained in paragraphs 1 through 27 of this Complaint.

22            29.      In 1990, the United States Congress made factual findings regarding persons with

23   physical disabilities and concluded that laws were needed to more fully protect:

24                     [S]ome 43 million Americans with one or more physical or
                       mental disabilities; [that] historically society has tended
25                     to isolate and segregate individuals with disabilities;
                       [that] such forms of discrimination against individuals
26                     with disabilities continue to be a serious and pervasive
                       social problem; [that] the nation’s proper goals regarding
27                     individuals with disabilities are to assure equality of
                       opportunity, full participation, independent living and
28                     economic self-sufficiency for such individuals; [and that] the
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 1                     continuing existence of unfair and unnecessary discrimination
                       and prejudice denies people with disabilities the opportunity to
 2                     compete on an equal basis and to pursue those opportunities
                       for which our free society is justifiably famous.
 3

 4   See 42. U.S.C. Section 12101.

 5            30.      Congress stated as its purpose in passing the Americans with Disabilities Act of

 6   1990 (42 U.S.C. Section 12102) that:

 7            It is the purpose of this Act

 8            (1) to provide a clear and comprehensive national mandate for the elimination
              of discrimination against individuals with disabilities;
 9
              (2) to provide clear, strong, consistent, enforceable standards addressing
10            discrimination against individuals with disabilities;

11            (3) to ensure that the Federal Government plays a central role in enforcing
              the standards established in this Act on behalf of individuals with disabilities; and
12
              (4) to invoke the sweep of Congressional authority, including the power to enforce
13            the Fourteenth Amendment and to regulate commerce, in order to address the major
              areas of discrimination faced day-to-day by people with disabilities.
14

15   See 42 U.S.C. Section 12101(b) (emphasis added).
16            31.      As part of the Americans with Disabilities Act of 1990, Public Law 101-336,
17   Congress passed “Title III - Public Accommodations and Services Operated by Private Entities.”
18   See Section 301 of the ADA, 42 U.S.C. Section 12181, et seq.
19            32.      Section 302 of the ADA, 42 U.S.C. Section 12182, provides that “[n]o individual

20   shall be discriminated against on the basis of disability in the full and equal enjoyment of the

21   goods, services, facilities, privileges, advantages, or accommodations of any place of public

22   accommodation by any person who owns, leases, or leases to, or operates a place of public

23   accommodation.”

24            33.      The specific prohibitions against discrimination set forth in Section 302(b)(2)(A)

25   of the ADA, 42 U.S.C. Section 12182(b)(2)(A) provide that:

26            For purposes of subsection (a) of this section, discrimination includes -

27                     (i)     the imposition or application of eligibility criteria that
                       screen out or tend to screen out an individual with a disability
28                     or any class of individuals with disabilities from fully and
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 1                     equally enjoying any goods, services, facilities, privileges,
                       advantages, or accommodations . . .;
 2
                       (ii)    a failure to make reasonable modifications in
 3                     policies, practices, or procedures, when such modifications
                       are necessary to afford such goods, services, facilities,
 4                     privileges, advantages or accommodations to individuals
                       with disabilities . . .;
 5
                       (iii)   a failure to take such steps as may be necessary to
 6                     ensure that no individual with a disability is excluded, denied
                       services, segregated or otherwise treated differently than other
 7                     individuals because of the absence of auxiliary aids and
                       services . . .;
 8
                       (iv)    a failure to remove architectural barriers, and
 9                     communication barriers that are structural in nature, in
                       existing facilities . . . where such removal is readily
10                     achievable; and

11                     (v)     where an entity can demonstrate that the removal of
                       a barrier under clause (iv) is not readily achievable, a failure
12                     to make such goods, services, facilities, privileges,
                       advantages or accommodations available through alternative
13                     methods if such methods are readily achievable.

14   See 42 U.S.C. Section 12182(b)(2)(A)(i)-(v).

15            34.      Defendant’s acts and omissions set forth herein violated plaintiff’s civil rights

16   under the ADA and the regulations promulgated thereunder at 28 C.F.R. Part 36, et seq. In 1992,

17   the standards of the ADA were incorporated into California law, making a violation of the ADA

18   sufficient to establish a violation of California Civil Code Sections 51, 52, 54, 54.1, and 54.3,

19   thereby providing access plaintiffs with damages remedies available under these statutes.

20            35.      Plaintiff is informed, believes, and alleges that defendant’s accommodations and

21   facility were designed, constructed, and altered or renovated after January 26, 1992, thereby

22   triggering access requirements under Title III of the ADA that are specifically addressed in the

23   ADA Accessibility Guidelines (“ADAAG”). Among other things, these requirements expressly

24   prohibit the design and construction of facilities for first occupancy after January 26, 1993, that

25   are not readily accessible to, and usable by, individuals with disabilities when it was structurally

26   practicable to do so. See 42 U.S.C. Section 12183(a)(1); 28 C.F.R. Section 36.401(a)(1).

27   Plaintiff is further informed and believes that defendant violated the ADA by designing and

28   constructing its facilities in a manner that made accommodations, services, and opportunities not
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 1   readily accessible to plaintiff and other physically disabled members of the public when it was

 2   structurally practical to do so. See 28 C.F.R. Sections 36.401, 36.406; 28 C.F.R. Part 36,

 3   Appendices A and B. Plaintiff is informed, believes, and further alleges that construction of a

 4   readily accessible facility was also required by applicable California law at the time defendant’s

 5   facilities were constructed, altered, remodeled, or renovated.

 6            36.      Plaintiff is informed, believes, and alleges that defendant has denied and

 7   continues to deny full and equal access to plaintiff and to other persons with disabilities, which

 8   amounts to unlawful discrimination against plaintiff and other similarly situated persons on the

 9   basis of their disabilities in violation of the ADA. Specifically, sections 302 and 303 of the ADA

10   mandates that disabled persons such as plaintiff are entitled to receive the full and equal

11   enjoyment of the goods, services, facilities, privileges, advantages and accommodations that are

12   offered to members of the public who are not physically disabled. See 42 U.S.C. Sections 12182

13   and 12183; see also 28 C.F.R. Sections 36.101 and 36.201(a).

14            37.      Pursuant to Section 308 of the ADA, 42 U.S.C. Section 12188, et seq., plaintiff is

15   entitled to the remedies and procedures set forth in Section 204(a) of the Civil Rights Act of

16   1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to ongoing discrimination on the basis

17   of his disability in violation of the ADA and/or has sufficient grounds for believing that he is about

18   to be subjected to unlawful discrimination. Thus, plaintiff is entitled to an injunction compelling

19   defendant to comply with its obligations under the ADA and to provide plaintiff and other disabled

20   persons with full and equal access to the public accommodations and services at defendant’s

21   facility that are enjoyed by nondisabled persons. See 42 U.S.C. Section 12188(a)(2) (providing

22   that “[i]n cases of violations of § 302(b)(2)(A)(iv) and § 303(a) . . . injunctive relief shall include

23   an order to alter facilities to make such facilities readily accessible to and usable by individuals

24   with disabilities to the extent required by this title.”); see also 28 C.F.R. Section 36.501(a), (b).

25            38.      Defendant’s acts and omissions giving rise to this action have caused plaintiff to

26   incur legal expenses and attorney’s fees to enforce plaintiff’s rights against defendant’s unlawful

27   discrimination and to enforce provisions of the law requiring full and equal access to public

28   accommodations for persons with disabilities. Thus, plaintiff seeks to recover all reasonable
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 1   attorney’s fees, litigation expenses (including expert fees) and costs, pursuant to Section 505 of

 2   the ADA (42 U.S.C. Section 12205) and 28 C.F.R. Section 36.505, which is the United States

 3   Department of Justice’s regulations for enforcement of Title III of the ADA. Plaintiff also seeks

 4   to compel defendant to make its facility accessible to all disabled members of the public, thereby

 5   justifying recovery of “public interest” attorney's fees pursuant to California Code of Civil

 6   Procedure Section 1021.5.

 7            WHEREFORE, plaintiff prays that this Court grants the requested injunctive relief and

 8   award attorney’s fees, litigation expenses, and costs as hereinafter stated against defendant.

 9                              II.  SECOND CAUSE OF ACTION
                             VIOLATION OF CALIFORNIA CIVIL CODE
10                              SECTIONS 54, 54.1, AND 54.3, et seq.

11            39.      Plaintiff repleads and incorporates by reference as if fully set forth again herein,

12   the allegations contained in paragraphs 1 through 38 of this Complaint.

13            40.      California Civil Code Section 54 provides that persons with physical disabilities

14   are not to be discriminated against because of their physical handicap or disability. This section

15   provides that:

16                     (a)      Individuals with disabilities . . . have the same rights
                                as the general public to full and free use of the streets,
17                              highways, sidewalks, walkways, public buildings,
                                medical facilities, including hospitals, clinics, and
18                              physicians' offices public facilities, and other public
                                places.
19

20            41.      California Civil Code Section 54.1 provides that persons with disabilities shall not

21   be denied full and equal access to places of public accommodation or facilities:

22                     (a)(1) Individuals with disabilities shall be entitled to full and
                       equal access, as other members of the general public, to
23                     accommodations, advantages, facilities, medical facilities,
                       including hospitals, clinics, and physicians’ offices, and
24                     privileges of all common carriers, airplanes, motor vehicles,
                       railroad trains, motorbuses, streetcars, boats, or any other
25                     public conveyances or modes of transportation (whether private,
                       public, franchised, licensed, contracted, or otherwise provided),
26                     telephone facilities, adoption agencies, private schools, hotels,
                       lodging places, places of public accommodation, amusement or
27                     resort, and other places to which the general public is invited,
                       subject only to the conditions and limitations established by law,
28                     or state or federal regulation, and applicable alike to all persons.
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 1   See California Civil Code Section 54.1(a)(1) (emphasis added).

 2            42.      California Civil Code Section 54.1 further provides that a violation of the
 3   Americans with Disabilities Act of 1990 constitutes a violation of Section 54.1. Specifically,
 4   Section 54.1(d) provides that:
 5                     (d) A violation of the right of an individual under the
                       Americans with Disabilities Act of 1990 (Public Law 101-336)
 6                     also constitutes a violation of this section, and nothing in this
                       section shall be construed to limit the access of any person in
 7                     violation of that act.
 8   See California Civil Code Section 54.1(d) (emphasis added).
 9            43.      Plaintiff is a qualified person within the meaning of Civil Code Section 54.1
10   whose rights have been violated by defendant as prohibited by Civil Code Sections 54 and 54.1.
11   Each of the specific architectural barrier defendant has created, maintained, and knowingly failed
12   and/or refused to remove constitutes a separate act in violation of Sections 54 and 54.1 of the
13   California Civil Code. Plaintiff has been, and continues to be, denied full and equal access to the
14   public accommodations and services available at defendant’s facilities. Accordingly, plaintiff
15   seeks statutory damages pursuant to California Civil Code Section 54.3(a) for each day on which
16   he visited or has been deterred from visiting defendant’s facility due to his knowledge, belief, and
17   personal experiences that the accommodations and services there are inaccessible to plaintiff and
18   to similarly situated persons. Section 54.3(a) of the California Civil Code provides that:
19                     Any person or persons, firm or corporation, who denies or
                       interferes with admittance to or enjoyment of the public facilities
20                     as specified in Sections 54 and 54.1 or otherwise interferes with
                       the rights of an individual with a disability under Sections 54,
21
                       54.1 and 54.2 is liable for each offense for the actual damages and
22                     any amount as may be determined by a jury, or the court sitting
                       without a jury, up to a maximum of three times the amount of
23                     actual damages but in no case less than one thousand dollars
                       ($1,000), and attorney’s fees as may be determined by the court
24                     in addition thereto, suffered by any person denied any of the rights
                       provided in Sections 54, 54.1 and 54.2.
25

26   See California Civil Code Section 54.3(a).

27            44.      Plaintiff suffered violations of his rights under California Civil Code Sections 54

28   and 54.1 when he was denied full and equal access to the public accommodations, facilities, and
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 1   services stated herein at defendant’s facility. Defendant has denied plaintiff full and equal access

 2   to the accommodations, facilities, and opportunities offered at defendant’s store, on the basis of

 3   plaintiff’s status as a person with physical disabilities.

 4            45.      As a result of defendant’s acts and/or omissions which denied plaintiff full and

 5   equal access to the facilities, accommodations, and services offered at defendant’s business,

 6   defendant, in owning, operating, managing, and maintaining the subject facility, caused plaintiff

 7   to suffer multiple violations of his civil rights, including but not limited to his rights under

 8   Sections 54, 54.1 and 54.3 of the California Civil Code.

 9            46.      Plaintiff is informed and believes that before he visited defendant’s facility,
10   defendant was aware of its legal obligations under Federal and California law requiring owners
11   and operators of public accommodations to make its facilities readily accessible to persons with
12   disabilities. Yet, despite this knowledge, defendant discriminated against plaintiff on account of
13   his physical disability and denied him full and equal access to the accommodations, facilities,
14   services, and opportunities that were fully available to nondisabled persons at this facility in
15   violation of Sections 54 and 54.1 of the California Civil Code.
16            47.      Plaintiff seeks to recover statutory damages pursuant to Section 54.3(a) of the
17   California Civil Code against defendant for violating his civil rights as a person with a disability
18   during his visit defendant’s store. Additionally, plaintiff seeks deterrence damages and currently
19   believes he will encounter the same and/or additional barriers and would again be denied full and
20   equal access to the facility and its goods, services, and accommodations if plaintiff returns to
21   defendant’s business to access its accommodations in its current inaccessible condition.
22            48.      As a result of defendant’s acts and omissions in this regard, plaintiff has incurred

23   legal expenses to enforce his civil rights and to enforce provisions of the law protecting access

24   for persons with physical disabilities and prohibiting discrimination against persons with physical

25   disabilities. Pursuant to California Civil Code Section 54.3, plaintiff seeks to recover his

26   reasonable attorney’s fees, legal expenses, and costs incurred in the prosecution of this matter if

27   he is deemed to be the prevailing party. Plaintiff also seeks to recover statutory damages from

28   defendant and to compel defendant to make its facilities and accommodations fully accessible to
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 1   plaintiff and other similarly situated members of the public who have disabilities. Thus, an

 2   injunction is appropriate under Section 55 of the California Civil Code as well as an award of public

 3   interest attorney’s fees pursuant to Section 1021.5 of the California Code of Civil Procedure if

 4   plaintiff is deemed to be the prevailing party.

 5            WHEREFORE, plaintiff prays for relief as hereinafter stated.

 6
                          III.  THIRD CAUSE OF ACTION
 7            DENIAL OF FULL AND EQUAL ACCESS IN A PUBLIC FACILITY
            TO A PERSON WITH A DISABILITY IN VIOLATION OF CALIFORNIA
 8                         DISABLED ACCESS STATUTES

 9            49.      Plaintiff repleads and incorporates by reference, as if fully set forth again
10   herein, the allegations contained in paragraphs 1 through 48 of this Complaint.
11            50.      Plaintiff and other similarly situated physically disabled persons whose physical

12   conditions require the use of a wheelchair or other mobility device are unable to use the public

13   facilities at WHEEL WORKS in a “full and equal” manner until defendant fully brings its

14   facilities and accommodations into compliance with provisions of California Health & Safety

15   Code Section 19955, et seq. Plaintiff is a member of the segment of the public whose rights are

16   protected by provisions of this statute.

17            51.      Under Section 54.1 of the California Civil Code, persons with disabilities are

18   entitled to full and equal access to public accommodations. “Public accommodations” are

19   further defined as a building, structure, facility complex, or improved area which is used by the

20   general public and shall include parking lots, paths of travel, seating, and attendant facilities.

21            52.      Defendant owns and operates WHEEL WORKS, thereby subjecting defendant’s

22   facilities to the requirements of California’s Disabled Rights statutes. California Health &

23   Safety Code Section 19955 provides in pertinent part:

24                     The purpose of this part is to insure that public accommodations
                       or facilities constructed in this state with private funds adhere to
25                     the provisions of Chapter 7 (commencing with Sec. 4450) of
                       Division 5 of Title 1 of the Government Code. For the purposes
26                     of this part “public accommodation or facilities” means a building,
                       structure, facility, complex, or improved area which is used by the
27                     general public and shall include auditoriums, hospitals, theaters,
                       restaurants, hotels, motels, stadiums, and convention centers.
28                     When sanitary facilities are made available for the public, clients
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 1                     or employees in such accommodations or facilities, they shall be
                       made available for the handicapped.
 2

 3            53.      California Health & Safety Code Section 19956, which appears in the same

 4   chapter as Section 19955, provides in pertinent part, “accommodations constructed in this state

 5   shall conform to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Title

 6   1 of the Government Code . . . .” Section 19956 of the Health & Safety Code was operative as

 7   of July 1, 1970, and is applicable to all public accommodations constructed or altered after that

 8   date. Plaintiff is informed, believes, and alleges that defendant’s facilities were constructed,

 9   altered, or repaired after July 1, 1970. Thus, the construction and/or modification of these

10   facilities are subject to the requirements of Part 5.5, Section 19955, et seq., of the California

11   Health & Safety Code, which requires defendant to provide full and equal access to persons with

12   disabilities upon completion of such construction, alteration, structural repairs or additions under

13   Health & Safety Code Section 19959.

14            54.      Plaintiff is informed, believes, and alleges that construction, alterations, structural

15   repairs and/or additions were completed on the subject property after January 1, 1968, the

16   effective date of California Government Code Section 4450, et seq, and the July 1, 1970 effective

17   date of Health & Safety Code Sections 19955-19959. Thus, defendant was required to provide

18   accessible accommodations for persons with disabilities in each regard sought in this Complaint.

19            55.      Pursuant to the authority under Government Code Section 4450, et seq, the State

20   Architect promulgated regulations for the enforcement of these provisions. Effective July 1,

21   1982, Title 24 of the California Building Standards Code (formerly known as the California

22   Administrative Code) adopted the California State Architect’s Regulations, which apply to any

23   construction or alterations of public accommodations occurring after the effective date. Title 24

24   was in effect at the time of each alteration, which occurred at defendant’s facility after January 1,

25   1982. Thus, the alterations triggered defendant’s duty to comply with the access standards of

26   Title 24 whenever each such “alteration, structural repair or addition” is carried out.

27            56.      Defendant’s facility and accommodations are “public accommodations” or

28   “facilities” within the meaning of Health & Safety Code Section 19955, et seq. Defendant
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 1   violated plaintiff’s civil rights by denying him and similarly situated persons with disabilities

 2   full and equal access to the accommodations and opportunities that defendant provides to

 3   nondisabled members of the public.

 4            57.      As a result of defendant’s ongoing failure to provide plaintiff with full and equal

 5   access to the public accommodations and related facilities at defendant’s business, defendant

 6   has denied plaintiff and similarly situated persons of their civil rights to full and equal access to

 7   the aforementioned accommodations. Plaintiff believes defendant will continue its unlawful

 8   and discriminatory practices unless the Court compels defendant to provide accessible

 9   facilities as discussed herein.

10            58.      Plaintiff has had to incur legal expenses to enforce his civil rights to receive full
11   and equal access to the public accommodations for himself and for other similarly situated

12   persons with physical disabilities. Because plaintiff seeks to enforce an important right that also

13   affects the public interest, plaintiff is entitled to recover his reasonable attorney’s fees and legal

14   costs pursuant to the provisions of California Code of Civil Procedure Section 1021.5. Plaintiff

15   additionally seeks to recover his attorney’s fees pursuant to California Civil Code Section 54.3

16   and/or in the alternative, plaintiff will seek to recover his attorney’s fees, costs and legal expenses

17   pursuant to Section 204(a) of the Civil Rights Act of 1964 (42 U.S.C. 2000(a)-3(a)) if he is

18   deemed to be the prevailing party.
19            59.      Defendant’s aforementioned acts have proximately caused and will continue to

20   cause irreparable injury to plaintiff if defendant is not enjoined by this Court. Accordingly,

21   plaintiff seeks injunctive relief and an order compelling defendant to make its facility and

22   accommodations readily accessible to, and fully and equally accessible by, plaintiff and other

23   similarly situated persons with disabilities.

24            WHEREFORE, plaintiff prays for relief as hereinafter stated.

25                     IV.   FOURTH CAUSE OF ACTION
         FOR DENIAL OF ACCESS TO FULL AND EQUAL ACCOMMODATIONS,
26         ADVANTAGES, FACILITIES, PRIVILEGES AND/OR SERVICES IN
           VIOLATION OF CALIFORNIA CIVIL CODE SECTION 51, ET SEQ.
27                      (THE UNRUH CIVIL RIGHTS ACT)

28            60.      Plaintiff repleads and incorporates by reference, as if fully set forth again herein,
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 1   the allegations contained in paragraphs 1 through 59 of this Complaint.

 2            61.      Defendant’s actions and omissions and failure to act as reasonable and prudent

 3   owners and/or operators of a public accommodation by ignoring, maintaining, and/or creating

 4   architectural barriers, policies, practices and/or procedures that have precluded plaintiff and other

 5   similarly situated persons with disabilities from full and equal access to the accommodations and

 6   opportunities offered by defendant to nondisabled members of the public, violate Section 51 of

 7   the California Civil Code, known as the Unruh Civil Rights Act. The Unruh Act provides:

 8                     (a)   This section shall be known, and may be cited, as the
                       Unruh Civil Rights Act.
 9
                       (b)     All persons within the jurisdiction of this state are free
10                     and equal, and no matter what their sex, race, color, religion,
                       ancestry, national origin, disability, medical condition, marital
11                     status, or sexual orientation are entitled to the full and equal
                       accommodations, advantages, facilities, privileges, or services
12                     in all business establishments of every kind whatsoever.

13                     (c)     This section shall not be construed to confer any right or
                       privilege on a person that is conditioned or limited by law or that is
14                     applicable alike to persons of every sex, color, race, religion,
                       ancestry, national origin, or disability, medical condition, marital
15                     status, or sexual orientation.

16                     (d)      Nothing in this section shall be construed to require any
                       construction, alteration, repair, structural or otherwise, or
17                     modification of any sort whatsoever, beyond that construction,
                       alteration, repair, or modification that is otherwise required by
18                     other provisions of law, to any new or existing establishment,
                       facility, building, improvement, or any other structure, nor shall
19                     anything in this section be construed to augment, restrict, or alter in
                       any way the authority of the State Architect to require construction,
20                     alteration, repair, or modifications that the State Architect
                       otherwise possesses pursuant to other laws.
21
                                                  * * * *
22
                       (f)     A violation of the right of any individual under the
23                     Americans with Disabilities Act of 1990 (Public Law 101-336)
                       shall also constitute a violation of this section.
24

25   See California Civil Code Section 51 (emphasis added).

26            62.      Defendant’s acts and omissions have denied plaintiff full and equal access to

27   accommodations, advantages, facilities, privileges and services in a business establishment on the

28   basis of physical disability in violation of Cal. Civil Code Section 51. Thus, defendant has
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 1   violated plaintiff’s civil rights by denying him full and equal access to accommodations, services,

 2   and opportunities provided to nondisabled persons who visit defendant’s facility.

 3            63.      Each violation of the ADA, as stated above, which is incorporated herein as if

 4   separately stated, is also a violation of the Unruh Civil Rights Act as provided by Section 51(f)

 5   of the California Civil Code. Plaintiff has been, and continues to be, denied full and equal access

 6   to the public accommodations and services available to the general public at defendant’s store.

 7   Thus, plaintiff seeks statutory damages pursuant to Civil Code Section 52(a) for his visits to the

 8   WHEEL WORKS and for each occasion he has been deterred from returning because of his

 9   knowledge and belief that the accommodations and services offered at defendant’s business

10   remain inaccessible to plaintiff and to other similarly situated persons with disabilities. These

11   violations of the Unruh Act support an award of minimum statutory damages of $4,000 against

12   defendant for each actionable count of unlawful discrimination experienced by plaintiff.

13            64.      Defendant’s acts and omissions have required plaintiff to incur legal expenses
14   and attorney’s fees to enforce his civil rights under applicable Federal and California laws that
15   prohibit discrimination against persons with disabilities. Accordingly, plaintiff seeks to recover
16   his reasonable attorney’s fees, litigation expenses and legal costs, pursuant to Civil Code Section
17   52. Because plaintiff’s action also seeks to require defendant to make its facility fully accessible
18   to all disabled members of the public, plaintiff is entitled to an award of “public interest”
19   attorney’s fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
20            WHEREFORE, plaintiff prays for relief as hereinafter stated.
21                                             PRAYER FOR RELIEF

22                  Plaintiff prays that this Court award damages and provide relief as follows:

23   I.       Prayer for FIRST CAUSE OF ACTION for Violation of the Americans with
              Disabilities Act of 1990 (42 U.S.C. §12101, et seq.)
24

25            1.       For injunctive relief, compelling defendant BRIDGESTONE to make the
26   WHEEL WORKS store located at 1410 Concord Avenue, Concord, California, 94520, and its
27   related facilities, accommodations, and services available, accessible to, and usable by plaintiff
28   and other similarly situated individuals with disabilities as required by the ADA, 42 U.S.C.
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 1   Section 12181, et seq., and to make any and all required modifications in policies, practices, and

 2   procedures to provide plaintiff and similarly situated individuals full and equal access to the

 3   goods, services, facilities, privileges, advantages, opportunities, and accommodations that

 4   defendant offers to nondisabled members of the public.

 5            2.      For reasonable attorney’s fees, litigation expenses, expert costs, and costs of suit,
 6   if plaintiff is deemed to be the prevailing party; and
 7            3.      For such other and further relief as the Court may deem to be just and proper.
 8   II.      Prayer for SECOND CAUSE OF ACTION for Denial of Full and Equal Access
              in Violation of California Civil Code Sections 54, 54.1 and 54.3, et seq.
 9

10            1.       For statutory damages against defendant BRIDGESTONE pursuant to California

11   Civil Code Section 54.3 for each separate occasion of actionable discrimination that plaintiff

12   sustained when he encountered architectural barriers at defendant’s business and was denied full

13   and equal access to the goods, services, accommodations, and opportunities offered to

14   nondisabled members of the public, and for deterrence damages;

15            2.       For attorney’s fees pursuant to California Civil Code Section 54.3 and California

16   Code of Civil Procedure Section 1021.5, if plaintiff is the prevailing party, and an injunction under

17   California Civil Code Section 55;

18            3.       For all costs of suit, expert costs and prejudgment interest, pursuant to California

19   Civil Code Section 3291;

20            4.       For such other and further relief as the Court may deem to be just and proper.

21   III.     Prayer for THIRD CAUSE OF ACTION for Denial of Accessible Public
              Facilities in Violation of California Health & Safety Code Section 19955, et seq.
22

23            1.       For injunctive relief, compelling defendant BRIDGESTONE to make the
24   WHEEL WORKS store located at 1410 Concord Avenue, Concord, California, 94520, and its
25   related facilities, accommodations, and services available, accessible to, and usable by plaintiff

26   and other individuals with disabilities, as required by applicable California law;

27            2.      For attorney’s fees pursuant to California Code of Civil Procedure Section 1021.5,
28   if plaintiff is deemed to be the prevailing party;
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 1            3.      For all costs of suit, expert costs and prejudgment interest, pursuant to California

 2   Civil Code Section 3291;

 3            4.      For such other and further relief as the Court may deem to be just and proper.

 4   IV.     Prayer for FOURTH CAUSE OF ACTION for Denial of Access to Full and
             Equal Accommodations, Advantages, Facilities, Privileges and/or Services in
 5           Violation of California Civil Code Section 51, et seq.
 6            1.      For statutory damages against defendant BRIDGESTONE pursuant to California
 7   Civil Code Section 52, et seq. for each separate occasion of discrimination that plaintiff
 8   experienced when he encountered architectural barriers at the WHEEL WORKS store located at
 9   1410 Concord Avenue, Concord, California, 94520, and was denied full and equal access to the
10   goods, services, opportunities, and accommodations offered at the subject facility to
11   nondisabled members of the public, and for deterrence damages;
12            2.      For attorney’s fees pursuant to California Civil Code Section 52, if plaintiff is
13   deemed to be the prevailing party;
14            3.      For all costs of suit, expert costs and prejudgment interest, pursuant to California
15   Civil Code Section 3291;
16            4.       For such other and further relief as the Court may deem to be just and proper.
17

18   Dated: October 21, 2022                              LAW OFFICE OF JASON G. GONG
                                                          A Professional Corporation
19
                                                        /s/ Jason G. Gong
20                                                By: _____________________________________
                                                        JASON G. GONG
21                                                      Attorney for Plaintiff
                                                        BEHRUZ BONSHAHI
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